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 8                              UNITED STATES DISTRICT COURT

 9                                      DISTRICT OF NEVADA

10

11    LEO HUNTER,                                     Case No. 3:18-cv-00166-HDM-CLB
12                      Petitioner,                   ORDER
13           v.
14    ISIDRO BACA, et al.,
15                      Respondents.
16

17          Respondents having filed an unopposed motion for enlargement of time (first request)

18   (ECF No. 47), and good cause appearing;

19          IT THEREFORE IS ORDERED that respondents' unopposed motion for enlargement of

20   time (first request) (ECF No. 47) is GRANTED. Respondents will have up to and including

21   April 21, 2022, to file and serve a response to the amended petition (ECF No. 40).

22          DATED: March 7, 2022.
23                                                              ______________________________
                                                                HOWARD D. MCKIBBEN
24                                                              United States District Judge
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